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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:
                                                 Chapter 7
Parker School Uniforms, LLC,
                                                 Case No: 18-10085 (CSS)
              Debtor.


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

              PLEASE TAKE NOTICE that, pursuant to Rules 2002, 3017, 9007, and

9010 of the F ederal Rules of Bankruptcy Procedure, the undersigned counsel hereby appears

for Frost Bank, and request copies of all notices, pleadings, orders, and other documents

brought before this Court with respect to the above-captioned proceeding, whether formal or

informal, be served on Frost Bank by and through its counsel, as follows:


                                        Michael J. Quilling
                                            Linda LaRue
                        Quilling, Selander, Lownds, Winslett & Moser, P.C.
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                                         Dallas, TX 75201
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                                              And

                               J. Kate Stickles (DE Bar No. 2917)
                           Katherine M. Devanney (DE Bar No. 6356)
                                        Cole Schotz P.C.
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                                              And
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                                   Michael D. Warner, Esq.
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                                    Fort Worth, TX 76102
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               PLEASE TAKE FURTHER NOTICE that this request includes, without

limitation (i) all notices and papers referred to in Bankruptcy Rules 2002, 3017, 9007, 9010 and

1109(b), (ii) all notices of hearings and entry of orders, (iii) every order signed in this case,

and (iv) every pleading or report filed in this case, including, without limitation, schedules,

statements of affairs, operating reports, motions, applications, complaints, demands, requests,

petitions, answering or reply papers, and memorandum briefs in support of any of the

foregoing.


               PLEASE TAKE FURTHER NOTICE that neither this notice nor any prior or

later appearance, pleading, claim, or suit shall waive any right of Frost Bank to (1) have final

orders in non-core matters entered only after de novo review by a District Court judge, (2) trial

by jury in any proceeding so triable in this case or any case, controversy, or proceeding related

to this case, (3) have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, (4) any objection to the jurisdiction of the Bankruptcy

Court for any purpose, (5) any election of remedy, or (6) any other right(s), claim(s), defense(s),

setoff(s) or recoupment(s), under agreements, in law, in equity, or otherwise, all of which are

expressly reserved.




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Dated: January 17, 2018             Respectfully submitted,


                                    COLE SCHOTZ P.C.


                                    /s/ Kate Stickles
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                                    Katherine M. Devanney (DE Bar No. 6356)
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                                    Counsel for Frost Bank




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                                CERTIFICATE OF SERVICE

       I certify that on January 17, 2018, a true and correct copy of the foregoing Notice of
 Appearance was served via U.S. First Class Mail on the parties listed below.



                                                    /s/ Kate Stickles
                                                   J. Kate Stickles



Debtor:
Parker School Uniforms, LLC
6300 W. By Northwest Boulevard, Suite 100
Houston, TX 77040

Debtor’s Counsel:
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Saul Ewing LLP
1201 North Market Street, Suite 2300
Wilmington, DE 19801

U.S. Trustee:
Office of the United States Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Lockbox 35
Wilmington, DE 19801

Trustee:
Jeoffrey L. Burtch
P.O. Box 549
Wilmington, DE 19899




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